
PER CURIAM.
REVERSED AND REMANDED for re-sentencing under the authority of Barnes v. State, 576 So.2d 758 (Fla. 1st DCA 1991). We certify the following question as one of great public importance:
WHETHER SECTION 775.084(l)(a)l, FLORIDA STATUTES (SUPP.1988), WHICH DEFINES HABITUAL FELONY OFFENDERS AS THOSE WHO HAVE “PREVIOUSLY BEEN CONVICTED OF TWO OR MORE FELONIES,” REQUIRES THAT EACH OF THE FELONIES BE COMMITTED AFTER CONVICTION FOR THE IMMEDIATELY PREVIOUS OFFENSE.
BOOTH, SMITH and BARFIELD, JJ., concur.
